       Case: 1:18-cv-04269 Document #: 1 Filed: 06/20/18 Page 1 of 7 PageID #:1




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


MATTHEW CHAPMAN,                                  )
                                                  )
               Plaintiff,                         )
                                                  )
        v.                                        )          No. 18-CV-4269
                                                  )
OFFICE OF MANAGEMENT AND                          )
BUDGET,                                           )
                                                  )
               Defendant.                         )
               .                                  )



                                          COMPLAINT

                                       INTRODUCTION

        1. Plaintiff Matthew Chapman brings this action under the Freedom of Information Act

(“FOIA”), 5 U.S.C. § 552 et seq., seeking an injunction ordering Defendant Office of

Management and Budget (“OMB”) to produce records it is improperly withholding related to

Chapman’s July 11, 2017 FOIA Request and November 29, 2017 Narrowed FOIA Request.

        2. Chapman’s original Request seeks metadata—the to, from, cc, bcc, and date and time

information—for all emails sent by @omb.eop.gov email addresses during January 2017.

        3. The Narrowed Request seeks metadata for January 19-24, 2017 and January 30, 2017.

        4. The Requests do not seek the contents of email messages or subject lines.

                                JURISDICTION AND VENUE

        5. This Court has jurisdiction under 5 U.S.C. § 552(a)(4)(B). This Court also has

jurisdiction under 28 U.S.C. § 1331.

        6. Venue is proper in this district under 5 U.S.C. § 552(a)(4)(B). Plaintiff resides in this

district.
      Case: 1:18-cv-04269 Document #: 1 Filed: 06/20/18 Page 2 of 7 PageID #:2




                                           PARTIES

       7. Plaintiff Matthew Chapman is a software engineer and is the Executive Director of

the Illinois not-for-profit Free Our Info. He brings this suit in his personal capacity and is a

resident of Lake County.

       8. Defendant Office of Management and Budget is an agency of the United States within

the meaning of 5 U.S.C. § 552(f)(1).

                                  STATEMENT OF FACTS

                               Initial FOIA Request and Denial

       9.   On July 11, 2017, Plaintiff, through counsel, emailed a FOIA request to Defendant.

This request sought:

              …the following metadata for all emails sent or received in the month of January
              2017 by or from persons with email addresses ending “@omb.eop.gov”:

                  1.   To address;
                  2.   From address;
                  3.   CC;
                  4.   BCC; and
                  5.   Date and Time.

A copy of the request is attached to and incorporated in this Complaint as Exhibit 1.

       10. The Request noted that it was non-commercial, in the public interest, and part of

broader work attempting to help the public understand the operations of government. Exhibit 1.

       11. On July 13, 2013, Defendant confirmed receipt and assigned the Request the

processing number 2017-230, but did not respond to the request within twenty business days as

required by 5 U.S.C. § 552(a)(6)(A)(i).

       12. On November 13, 2017, Defendant finally issued a determination on Chapman’s

Request, denying it and stating that the Request was “overly broad.” A copy of the Denial is

attached to and incorporated in this Complaint as Exhibit 2.

       13. By its own admission, Defendant did not conduct any any search; it stated that in
                                                2
      Case: 1:18-cv-04269 Document #: 1 Filed: 06/20/18 Page 3 of 7 PageID #:3




order to comply with the request “a voluminous number of emails would need to be searched”

and that searching and processing the required emails would “likely be very time-consuming and

overly burdensome.” Exhibit 2.

       14. Defendant’s November 13, 2017 Denial asserted that FOIA Exemption 5, 5 U.S.C. §

552(b)(5), would likely apply to the requested information but identified no other exemptions.

Exhibit 2.

       15. Chapman’s Request did not seek the content of emails, but rather the metadata of

them and thus Exemption 5 does not apply.

       16. Defendant’s November 13, 2017 Denial did not contain language regarding

Chapman’s right to appeal the adverse determination or to seek dispute resolution services as

required by 5 U.S.C. § 552(a)(6)(A)(i)(aa)-(bb). Exhibit 2.

       17. Defendant’s November 13, 2017 Denial invited Chapman to “narrow the request by

providing more specificity, such as a subject matter….” Exhibit 2.

                 Narrowed Request, Non-Response; Appeal, Non-Response

       18. Upon Defendant’s invitation, on November 29, 2017 Chapman narrowed his Request

by reducing its scope from metadata for all of January 2017 to metadata for seven days of that

month, a 77% reduction in requested material. A copy of the Narrowed Request is attached to

and incorporated in this Complaint as Exhibit 3.

       19. Defendant again did not respond to Chapman’s Request within twenty business days

as required by 5 U.S.C. § 552(a)(6)(A)(i).

       20. As of the filing of this Complaint, more than six months after the Narrowed Request

was submitted, OMB has not responded to Chapman’s Narrowed Request.

       21. On January 9, 2018, Chapman mailed an Appeal to OMB FOIA Officer Dionne

Hardy and OMB Director Mick Mulvaney, challenging both the initial denial of his Request and


                                                3
       Case: 1:18-cv-04269 Document #: 1 Filed: 06/20/18 Page 4 of 7 PageID #:4




the delay in rendering a determination on his Narrowed Request. A copy of the Appeal is

attached to and incorporated in this Complaint as Exhibit 4.

        22.     On February 26, 2018, Defendant emailed Chapman confirmation of receipt of his

Appeal, indicating that it was received on February 23, 2018.

        23.     Defendant did not respond to this Appeal within the required twenty business day

time frame, this time in violation of 5 U.S.C. § 552(a)(6)(A)(ii), and has provided no reason for

the delay.

        24.     As of the filing of this lawsuit, almost four months after Defendant received his

Appeal, Chapman has not received a response from Defendant.

              COUNT I – VIOLATION OF FOIA FOR FAILURES TO RESPOND

        25.     Plaintiff incorporates paragraphs 1-24 above as though fully set forth herein.

        26.     Defendant has failed on three occasions to timely respond to Plaintiff within the

FOIA’s statutory deadlines, two of which are pending and ongoing violations.

        27.     The FOIA requires an agency to respond to a requester’s FOIA request within

twenty business days, or, in “unusual circumstances,” within thirty business days, except by

agreement of the parties. 5 U.S.C. §§ 552(a)(6)(A)-(B).

        28.     The FOIA requires an agency to respond to a requester’s FOIA appeal within

twenty business days, or, in “unusual circumstances,” within thirty business days. 5 U.S.C. §§

552(a)(6)(A)-(B).

        29.     Defendant did not apply an “unusual circumstances” extension to Plaintiff’s

Request or Narrowed Request and did not apply an “unusual circumstances” extension to

Plaintiff’s FOIA Appeal.

        30.     Defendant also did not toll its FOIA Appeal time limit under 5 U.S.C. §§

552(a)(6)(A)(ii)(I)-(II).


                                                 4
       Case: 1:18-cv-04269 Document #: 1 Filed: 06/20/18 Page 5 of 7 PageID #:5




       31.    The parties did not agree to any modification of FOIA’s statutory deadlines on the

initial Request, Narrowed Request, or FOIA Appeal.

       32.    Defendant violated FOIA by failing to respond with a determination on Plaintiff’s

July 11, 2017 initial Request within twenty business days, waiting until November 13, 2017 to

deny the Request and invite Plaintiff to narrow.

       33.    Defendant violated FOIA by failing to respond with a determination on Plaintiff’s

November 29, 2017 Narrowed Request within twenty business days. Defendant has not

responded to this Narrowed Request and is currently in violation of the Act.

       34.    Defendant violated FOIA by failing to respond with a determination on Plaintiff’s

January 9, 2018 FOIA Appeal, received by Defendant February 26, 2018, within twenty business

days. Defendant has not responded to Plaintiff’s FOIA Appeal and is currently in violation of the

act.

       35.    Plaintiff has exhausted his administrative remedies under 5 U.S.C. §

552(a)(6)(C)(i).

         COUNT II – VIOLATION OF FOIA FOR IMPROPER WITHHOLDING

       36.    Plaintiff incorporates paragraphs 1-24 above as though fully set forth herein.

       37.    Plaintiff has exhausted his administrative remedies under 5 U.S.C. §

552(a)(6)(C)(i).

       38.    Plaintiff’s FOIA request is non-commercial in nature and the disclosure of

requested information is in the public interest under 5 U.S.C. § 552(a)(4)(A)(iii) and a fee waiver

is appropriate. Information about the operation of government is crucial to the functioning of a

healthy democracy, and Plaintiff’s Request seeks information that would contribute significantly

to public understanding of the operations and activities of government.

       39.    Defendant has wrongly withheld records sought by Plaintiff’s Requests, both on


                                                   5
      Case: 1:18-cv-04269 Document #: 1 Filed: 06/20/18 Page 6 of 7 PageID #:6




the initial Request seeking records for the entirety of January 2017 and on the Narrowed Request

seeking records for January 19-24 and January 30, 2017.

       40.      As to the Initial Request, Defendant has not conducted an adequate search as

required by the FOIA, relying instead on conclusory declarations of the likely burden associated

with a hypothetical search.

       41.      The exemption asserted by Defendant – 5 U.S.C. § 552(b)(5) – would not apply to

Plaintiff’s requested records because the requested records do not comprise the contents of inter-

or intra-agency emails, only their metadata. The Requests therefore cannot be said to encompass

records containing information of exemptible deliberative processes like those found in

memoranda or letters as contemplated by this exemption.

       42.      Moreover, by its own admission, Defendant has not conducted any search for the

information sought in Plaintiff’s Requests.

       43.      Withholding records without a search based on a conclusory statement that a

request is overly broad and an assertion that un-searched for, unreviewed materials would likely

be subject to a statutory exemption violates the FOIA.

                                      REQUESTED RELIEF

       WHEREFORE, Plaintiff requests that this Court:

             a) Declare Defendant’s non-responses to Plaintiff’s Requests and FOIA Appeal to be

                unlawful;

             b) Order Defendant to produce records responsive to Plaintiff’s Initial Request, or, in

                the alternative, to produce records responsive to his Narrowed Request;

             c) Apply a fee waiver to the search, review, and production of records responsive to

                Plaintiff’s Initial Request, or, in the alternative, to his Narrowed Request;

             d) Award Plaintiff reasonable attorney’s fees and costs in this action as provided by


                                                  6
      Case: 1:18-cv-04269 Document #: 1 Filed: 06/20/18 Page 7 of 7 PageID #:7




              5 U.S.C. § 552(a)(4)(E); and

          e) Grant any other relief the Court deems appropriate and just.

Dated: June 20, 2018

                                                                  Respectfully Submitted,

                                                                  /s/ Daniel E. Massoglia



                                                                 Daniel E. Massoglia
                                                                 Daniel E. Massoglia, Esq.
                                                                 Illinois Bar No. 6317393
                                                                 2865 W. Lyndale St.
                                                                 #1
                                                                 Chicago, IL 60647
                                                                 dmassoglia@gmail.com
                                                                 (336) 575-6968

                                                                 Mariana Karampelas
                                                                 MK Law, LLC
                                                                 Illinois Bar No. 6306288
                                                                 180 W. Washington St.
                                                                 Suite 700
                                                                 Chicago, IL 60602
                                                                 mk@mklawchicago.com
                                                                 (312) 545-8660

                                                                 Attorneys for Plaintiff




                                              7
